19-23985-shl         Doc 19      Filed 02/18/20 Entered 02/18/20 12:25:03       Main Document
                                               Pg 1 of 3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In re:                                                      Chapter 13

        Samantha G. Jenkins,                                Case No. 19-23985 (SHL)

                                             Debtor
-------------------------------------------------------X

                ORDER (A) SCHEDULING FURTHER HEARING ON
               DEBTOR’S MOTION SEEKING AN ORDER THAT THE
         AUTOMATIC STAY APPLIES TO THE DEBTOR’S RESIDENCE; AND
      (B) STAYING THE FORECLOSURE SALE OF THE DEBTOR’S RESIDENCE

        Upon the motion of the Debtor, filed on February 7, 2020 (the “Motion”) [ECF No. 15],

seeking entry of an order to stay the foreclosure sale proceeding scheduled for February 19,

2020 on the property located at 24 Montgomery Place, New Rochelle, NY 10804 (the

“Residence”); and this Court having entered an order (the “Scheduling Order”) [ECF No. 16],

scheduling a hearing on the Motion on February 18, 2020 (the “Hearing”) and directing that

creditor Select Portfolio Servicing, Inc. (“SPS”) appear at the Hearing; and a copy of the

Scheduling Order having been served upon SPS by both regular mail and electronic mail [ECF

No. 16]; and SPS having failed to attend the Hearing; and the Court having been contacted by

counsel to SPS subsequent to the Hearing; and given that the Debtor appears to be entitled to

the protection of the automatic stay under Section 362 of the Bankruptcy Code based upon her

filing of the above-captioned bankruptcy case; and granting further relief as the Court deems

just and proper; it is hereby

        ORDERED, that SPS is hereby directed to appear at a further hearing on Debtor’s

Motion to be held before the Honorable Sean H. Lane, United States Bankruptcy Court,

Southern District of New York, 300 Quarropas Street, White Plains, NY 10601 on MARCH 25,

2020 at 10:00 A.M. to show cause as to why SPS is not in violation of the automatic stay; and it

is further
19-23985-shl      Doc 19   Filed 02/18/20 Entered 02/18/20 12:25:03        Main Document
                                         Pg 2 of 3


       ORDERED, that the scheduled sale of the Residence is hereby stayed pending further

order of this Court.

Dated: White Plains, New York
       February 18, 2020

                                          /s/ Sean H. Lane
                                          UNITED STATES BANKRUPTCY JUDGE




                                             2
      19-23985-shl    Doc 19     Filed 02/18/20 Entered 02/18/20 12:25:03   Main Document
                                               Pg 3 of 3



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